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		OSCN Found Document:IN RE RULES OF THE SUPREME COURT ON LICENSED LEGAL INTERNSHIP

					

				
  



				
					
					
						
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				IN RE RULES OF THE SUPREME COURT ON LICENSED LEGAL INTERNSHIP2019 OK 79Case Number: SCBD-2109Decided: 12/02/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 79, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN RE: Rules of the Supreme Court of the State of Oklahoma on Licensed Legal Internship (5 O.S. ch. 1 app. 6)




ORDER


¶1 This matter comes on before this Court upon an Application to Amend Rule 2.1A of the Rules of the Supreme Court of the State of Oklahoma on Licensed Legal Internship (hereinafter "Rules"). This Court finds that it has jurisdiction over this matter and the Rules are hereby amended as set out in Exhibit A attached hereto, effective immediately.

¶2 DONE BY THE SUPREME COURT IN CONFERENCE this 2ND day of DECEMBER, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Combs and Kane, JJ., concur.




EXHIBIT A

RULES OF THE SUPREME COURT ON LICENSED LEGAL INTERNSHIP

Rule 2.1A Academic Legal Intern License

A law student not otherwise eligible for licensure under Rule 2 and enrolled in a law school academic program that requires the utilization of an intern's license must meet the following requirements in order to be eligible for a limited license as an Academic Legal Intern (Adopted May 16, 2011):

(1) Requirements

(a) Be a regularly enrolled student at an accredited law school located in the State of Oklahoma;

(b) Have successfully completed one-third (1/3) of the number of academic hours in a law school program leading to a Juris Doctor Degree required by the American Bar Association Accreditation Standards;

(c) Have a graduating grade point average at his or her law school;

(d) Have approval of his or her law school dean or the dean's designate;

(e) Have either completed or be concurrently enrolled in Professional Responsibility and Evidence Courses;

(f) Successfully pass the examination required by Rule 5.2; Stricken by Legal Intern Committee June 14, 2019.

(g) Be registered with the Oklahoma Board of Bar Examiners or provide a criminal background report from the State of Oklahoma and the student's prior state(s) of residence, if different; and

(h) Be enrolled in a law school course that will provide direct law school faculty supervision for the student's activities under the Academic Legal Intern License, including physical presence of a supervising faculty member at all court appearances.

(2) Limitations

All limitations and procedures which apply to the regular limited license shall apply to the academic limited license, except the Academic Legal Intern shall make no court appearance without a faculty supervisor present. The Academic Legal Intern's license may only be used in conjunction with enrollment in a program established pursuant to Rule 4.1(a).

(3) The Academic Intern may be sworn in by any member of the Oklahoma Judiciary, including a judge of the district court.

(34) Expiration of Academic Legal Intern License

Once an Academic Legal Intern is no longer enrolled in a course described in Rule 2.1A(1)(h), the student's Academic Legal Intern License must be placed on inactive status. If the student wants desires to use obtain a Limited Legal Intern License thereafter, that the student shall have to meet all qualifications for a Limited Legal Intern License under Rule 2.1 or Rule 2.2, including the submission of a current application, and payment of an application fee, and passing the examination required by Rule 5.2. however, the student shall not have to retake the Legal Internship Examination.


EXHIBIT A

RULES OF THE SUPREME COURT ON LICENSED LEGAL INTERNSHIP

Rule 2.1A Academic Legal Intern License

A law student not otherwise eligible for licensure under Rule 2 and enrolled in a law school academic program that requires the utilization of an intern's license must meet the following requirements in order to be eligible for a limited license as an Academic Legal Intern (Adopted May 16, 2011):

(1) Requirements

(a) Be a regularly enrolled student at an accredited law school located in the State of Oklahoma;

(b) Have successfully completed one-third (1/3) of the number of academic hours in a law school program leading to a Juris Doctor Degree required by the American Bar Association Accreditation Standards;

(c) Have a graduating grade point average at his or her law school;

(d) Have approval of his or her law school dean or the dean's designate;

(e) Have either completed or be concurrently enrolled in Professional Responsibility and Evidence Courses;

(f) Stricken by Legal Intern Committee June 14, 2019.

(g) Be registered with the Oklahoma Board of Bar Examiners or provide a criminal background report from the State of Oklahoma; and

(h) Be enrolled in a law school course that will provide direct law school faculty supervision for the student's activities under the Academic Legal Intern License, including physical presence of a supervising faculty member at all court appearances.

(2) Limitations

All limitations and procedures which apply to the regular limited license shall apply to the academic limited license, except the Academic Legal Intern shall make no court appearance without a faculty supervisor present. The Academic Legal Intern's license may only be used in conjunction with enrollment in a program established pursuant to Rule 4.1(a).

(3) The Academic Intern may be sworn in by any member of the Oklahoma Judiciary, including a judge of the district court.

(4) Expiration of Academic Legal Intern License

Once an Academic Legal Intern is no longer enrolled in a course described in Rule 2.1A(1)(h), the student's Academic Legal Intern License must be placed on inactive status. If the student desires to obtain a Limited Legal Intern License thereafter, the student shall meet all qualifications for a Limited Legal Intern License under Rule 2.1 or Rule 2.2, including the submission of a current application, payment of an application fee, and passing the examination required by Rule 5.2.





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 5. Attorneys and the State Bar
&nbsp;CiteNameLevel

&nbsp;5 O.S. Sec 2.1A, Academic Legal Intern LicenseCited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
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